                 Case 2:23-cr-00051-JHC Document 28 Filed 10/20/23 Page 1 of 2




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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
10 UNITED STATES OF AMERICA,                              NO. CR23-051-JHC
                             Plaintiff,
11
12                      v.
                                                         FINAL ORDER OF FORFEITURE
13 DEON JORDAN,
14                           Defendant.

15
16
17          THIS MATTER comes before the Court on the United States’ Motion for a Final Order

18 of Forfeiture for the following property:
19          •      $6,000 of the $10,715.27 in U.S. currency seized on or about

20                 November 17, 2022.

21 Dkt. No. 26.
22          The Court, having reviewed the motion, as well as pertinent portions of the record and

23 the applicable law, HEREBY concludes that entry of a Final Order of Forfeiture is appropriate
24 for the following reasons:
25          1.       In the Plea Agreement that Defendant Jordan entered on April 17, 2023, he agreed

26                   to forfeit his interest in the above-identified currency as proceeds of, or property

27                   that facilitated his Possession of Controlled Substances with Intent to Distribute


      Final Order of Forfeiture - 1
      United States v. Jordan, CR23-051-JHC
                 Case 2:23-cr-00051-JHC Document 28 Filed 10/20/23 Page 2 of 2




 1                   offense, in violation 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), to which he entered a

 2                   guilty plea (Dkt. # 7);

 3          2.       On May 5, 2023, the Court entered a Preliminary Order of Forfeiture, finding the

 4                   above-identified currency forfeitable pursuant to 21 U.S.C. § 853 and forfeiting

 5                   the Defendant’s interest in it (Dkt. # 13);

 6          3.       Thereafter, the United States published notice of the pending forfeiture as

 7                   required by 21 U.S.C. § 853(n)(1) and Federal Rule of Criminal Procedure

 8                   32.2(b)(6)(C) (Dkt. # 14), and provided direct notice to two identified potential

 9                   claimants (Declaration of Assistant U.S. Attorney Krista K. Bush in Support of

10                   Motion for a Final Order of Forfeiture, ¶ 2, Exhibits A & B); and

11          4.       The time period for filing third-party petitions has expired and none were filed.

12 NOW, THEREFORE, THE COURT ORDERS:
13          1.       No right, title, or interest in the above-listed property exists in any party other

14 than the United States;
15          2.       The property is fully and finally condemned and forfeited, in its entirety, to the

16 United States; and
17          3.       The United States Department of Justice, the United States Marshals Service, and

18 the Bureau of Alcohol, Tobacco, Firearms and Explosives, and/or their representatives, are
19 authorized to dispose of the property in accordance with the law.
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21          IT IS SO ORDERED.

22          DATED this 20th day of October, 2023.

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24                                                 JOHN H. CHUN
                                                   UNITED STATES DISTRICT JUDGE
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      Final Order of Forfeiture - 2
      United States v. Jordan, CR23-051-JHC
